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CERTIFICATE OF SERVICE

|, Nicole C. Churchill , certify that | am, and at all times during the

service Of process was, not less than 18 years of age and not a party to the matter concerning which
service of process was made. | further certify that the service of this summons and a copy of the complaint

was made September 20, 2021 by:

v_ Mail service: Regular, first class United States mail, postage fully pre-paid, addressed to:
Martin David Daughenbaugh, 211 W. Pine Street, Elsie, Michigan 48831

____ Personal Service: By leaving the process with defendant or with an officer or agent of defendant at:

____ Residence Service: By leaving the process with the following adult at:
____ Publication: The defendant was served as follows: [Describe briefly]

___ State Law: The defendant was served pursuant to the laws of the State of
as follows: [Describe briefly]

Under Penalty of perjury, | declare that the foregoing is true and correct.

Date: 09/20/2021 Signature:

Print Name: Nicole C. Churchill

Business Address: 203 East Michigan Avenue

City:_ Marshall State: MI Zip: 49068
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Form summon (07/09)
United States Bankruptcy Court
Western District of Michigan
One Division Ave., N.
Room 200
Grand Rapids, MI 49503

 

IN RE: Debtor (name used by the debtor in the last 8 years,
including married, maiden, trade, and address):

Case Number 19-04253-jtg

 

 

Martin David
Haugnenbauge Adv. Pro. No. 21-80085-jtg
Debtor
Patricia Polacco Chapter 7
Plaintiff Honorable John T. Gregg
Martin David
Daughenbaugh
Defendant

 

 

SUMMONS IN AN ADVERSARY PROCEEDING

YOU ARE SUMMONED and required to submit a motion or answer to the complaint which is attached to
this summons to the clerk of the bankruptcy court 30 (thirty) days after the date of issuance of this
summons, except that the United States and its offices and agencies shall submit a motion or answer to the
complaint within 35 days.

Address of Clerk:
Michelle M. Wilson, Clerk of Court
United States Bankruptcy Court

One Division Ave., N.
Room 200
Grand Rapids, MI 49503

At the same time, you must also serve a copy of the motion or answer upon the plaintiff's attorney.

Name and Address of Plaintiff's
Attorney:
Brock Ryan Veenhuis
Schroeder DeGraw, PLLC
203 East Michigan Avenue
Marshall, MI 49068

If you make a motion, your time to answer is governed by Bankruptcy Rule 7012.
IF YOU FAIL TO RESPOND TO THIS SUMMONS, YOUR FAILURE WILL BE DEEMED TO BE YOUR CONSENT TO ENTRY

OF A JUDGMENT BY THE BANKRUPTCY COURT AND JUDGMENT BY DEFAULT MAY BE TAKEN AGAINST YOU FOR
THE RELIEF DEMANDED IN THE COMPLAINT.

Date Issued: September 20, 2021

Clerk of the Bankruptcy Court
s/ Michelle M. Wilson

 
